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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
NIKE, INC. and CONVERSE INC.,                             :
                                                          :
                           Plaintiffs,                    :
                                                          : No. 13 Civ. 8012 (CM)(DCF)
         -against-                                        :
                                                          : ORAL ARGUMENT REQUESTED
MARIA WU d/b/a
                                                          :
WWW.SHOECAPSXYZ.COM, et al.,
                                                          :
                           Judgment Debtors.              :
                                                          :
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       NOTICE OF CROSS-MOTION AND MOTION TO HOLD THE BANKS IN
                 CONTEMPT AND FOR A TURNOVER ORDER

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, the

Declaration of Edward Boyle dated July 19, 2019 and the exhibits attached thereto; the

Declaration of Donald Clarke dated July 19, 2019 and the exhibits attached thereto; the

Declaration of Sara Perles dated July 19, 2019 and the exhibits attached thereto; the Declaration

of Lauren Nagin dated July 19, 2019 and the exhibits attached thereto; and the Declaration of

JungEun Lee dated July 19, 2019 and the exhibits attached thereto, assignee Next Investments,

LLC (“Next”), by and through its undersigned counsel, will move this Court, before the

Honorable Colleen McMahon, at the Daniel Patrick Moynihan United States Courthouse, 500

Pearl Street, New York, New York 10007-1312, at a time and date to be determined by the Court

for an order (1) to hold non-parties Agricultural Bank of China, Bank of China, Bank of

Communications, China Construction Bank, China Merchants Bank, and Industrial and

Commercial Bank of China (“Banks”) in contempt of court, (2) directing the Banks to turnover

Judgment Debtors’ assets, and (3) granting such other and further relief as the Court may deem

just and proper.
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       Pursuant to the Court’s Order endorsing Next’s July 2, 2019 letter, Next’s Opposition to

BOC, BOCOM, CCB, CMB, and ICBC’s (“Moving Banks”) Motion for Reimbursement and

Motion Against ABC and Cross-Motion Against the Moving Banks to Hold the Banks in

Contempt of Court is due July 19, 2019; the Moving Banks’ Reply in Support of Their Motion

for Reimbursement and ABC’s and Moving Banks’ Opposition to Next’s Motion to Hold the

Banks in Contempt of Court is due September 6, 2019; and Next’s Reply in Support of its

Motion to Hold the Banks in Contempt of Court is due September 27, 2019.


Dated: New York, New York
       July 19, 2019


                                            GIBSON, DUNN & CRUTCHER LLP



                                            By: /s/ Robert Weigel                 .
                                                Robert Weigel
                                                Howard S. Hogan
                                                Lauren M.L. Nagin
                                                Alexandra Leigh Grossbaum

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                                                   Attorneys for NEXT INVESTMENTS, LLC




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